Case 2:12-cv-00995-JMV-CLW Document 428 Filed 12/12/18 Page 1 of 16 PageID: 12589
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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY



    IN RE: LAMICTAL INDIRECT
    PURCHASER AND ANTITRUST
    CONSUMER LITIGATION                                       OPINION

                                                              Civ. No. 12-cv-00995
    THIS DOCUMENT RELATES TO:
    ALL ACTIONS


  Walls, Senior District Judge

         In this putative class action, Plaintiffs, purchasers of the drug lamotrigine, challenge the

  legality of a patent litigation settlement between the Defendant pharmaceutical companies.

  Plaintiffs now move to certify a direct purchaser class pursuant to Fed. R. Civ. P. 23. ECF No.

  371. Decided without oral argument under Fed. R. Civ. P. 78, Plaintiffs’ motion is granted.

                                   FACTUAL BACKGROUND

         This matter has been litigated at length, and a full factual and procedural background is

  detailed in the Court’s December 6, 2012 opinion. ECF No. 105. Directly relevant to this motion:

  Plaintiffs’ theory of liability derives from Defendants’ allegedly anticompetitive behavior and

  affects two subsets of direct purchaser plaintiffs who sustained damages therefrom. In sum,

  Plaintiffs allege that Defendant SmithKline Beecham Corporation (d/b/a GlaxoSmithKline)

  (“GSK”) entered into a contract with Defendant Teva Pharmaceutical Industries Ltd. (and its

  subsidiary Teva Pharmaceuticals USA, Inc.) (“Teva”) that caused antitrust injury. Specifically,

  during litigation between Defendants, Judge Bissell of this District ruled from the bench that

  Teva had shown that at least one claim relating to the patent for Lamictal—the brand name

  epilepsy and bipolar disorder drug marketed by GSK—was invalid, which strongly indicated that
Case 2:12-cv-00995-JMV-CLW Document 428 Filed 12/12/18 Page 2 of 16 PageID: 12590
  NOT FOR PUBLICATION


  Teva would be successful on the rest of its claims against the patent. Class Action Complaint

  (“CAC”), ECF No. 55        ¶ 56.   Shortly thereafter, GSK and Teva reached a settlement agreement

  wherein GSK made two large concessions to Teva. First, Teva was permitted to sell generic

  lamotrigine chewables—separate and apart from Lamictal tablets and a much smaller relative

  share of the market’—three years before GSK’s patent was set to expire. Id.          ¶ 70-72.   Second,

  GSK agreed not to launch an authorized generic (“AG”) until six months after the expiration of

  the patent (the “no-AG agreement”), giving Teva a significant running start in the lamotrigine

  market share. Id.   ¶J 76-77.
          Plaintiffs claim two subsets of damages resulting to the direct purchaser putative class

  from Defendants’ actions. First, brand purchasers were harmed because but for the settlement

  agreement, the Lamictal patent would have been invalidated and Teva would have been able to

  sell generic lamotrigine three years earlier, which would have allowed Larnictal purchasers to

  either buy Lamictal at a lower price (based on simple economics) or simply purchase the generic

  at a lower cost. Id.   ¶   112-114; 132. Second, generic purchasers were harmed because but for the

  settlement agreement, GSK would have not been bound by the no-AG agreement and would

  have produced their own generic six months earlier, which would have dropped prices in generic

  lamotrigine across the board. Id.      ¶   149. These in total are the alleged damages suffered by the

  direct purchaser class.

                                               LEGAL STANDARD

          To obtain class action certification, plaintiffs must establish that all four prerequisites of

  Federal Rule of Civil Procedure 23(a) are met, as well as at least one part of federal Rule of

  Civil Procedure 23(b). Neal (Baby) by Kanter v. Casey, 43 F.3d 48, 55 (3d Cir.1994). Rule 23(a)



   Both the tablets and chewables were covered by the same patent. Id.

                                                          2
Case 2:12-cv-00995-JMV-CLW Document 428 Filed 12/12/18 Page 3 of 16 PageID: 12591
  NOT FOR PUBLICATION


  requires a showing of (1) numerosity; (2) commonality; (3) typicality; and (4) adequacy of

  representation. Fed. R. Civ. P. 23(a):

          One or more members of a class may sue or be sued as representative parties on behalf of
          all only if (1) the class is so numerous that joinder of all members is impracticable, (2)
          there are questions of law or fact common to all of the class, (3) the claims or defenses of
          the representative parties are typical of the claims or defenses of the class, and (4) the
          representative parties will fairly and adequately protect the interests of the class.

          “Numerosity requires a finding that the putative class is so numerous that joinder of all

  members is impracticable.” Newton v. Merrill Lynch, Pierce, Fenner & $mith, Inc., 259 f.3d

  154, 182 (3d Cir.2001); Fed.R.Civ.P. 23(a)(1).

          To satisfy the commonality requirement, Plaintiffs must show the existence of at least

  one question of law or fact common to the entire class. See In re the Prudential Ins. Co. ofAm.

  Sales Practice Litig., 148 f.3d 283, 310 (3d Cir.1998). “All that is required is that the litigation

  involve some common questions and that plaintiffs allege harm under the same legal theory.”

  Baby Neal, 43 F.3d at 58. See also Hassine v. Jeffes, $46 F.2d 169, 176—77 (3d Cir.198$)

  (holding that it is not necessary that all putative class members share identical claims).

          The typicality requirement is designed to align the interests of the class and the class

  representatives so that the latter will work for the benefit of the entire class through the pursuit of

  their own goals. See In re Prudential Ins, Co., 142 F.3d at 311; see also Hoxworth v. Blinder,

  Robinson & Co., Inc., 980 F.2d 912, 923 (3d Cir.1992).

         Finally, Rule 23 also requires that “the representative parties will fairly and adequately

  protect the interests of the class.” Fed.R.Civ.P. 23(a)(4). But where the class includes members

  with divergent interests because the time of class membership is a factor, the representatives may

  not adequately represent the class. See Bogosian v. Gulf Oil Corp., 561 F.2d 434, 449 (3d

  Cir.1977); Miller v. Hygrade Food Prods. Corp., 19$ F.R.D. 63$ (E.D.Pa.2001).



                                                    3
Case 2:12-cv-00995-JMV-CLW Document 428 Filed 12/12/18 Page 4 of 16 PageID: 12592
  NOT FOR PUBLICATION


         If the requirements of Rule 23(a) are satisfied, the court must also find that the class

  action is maintainable under one of the sections of Rule 23(b). Applicable here, certification

  under Rule 23(b)(3) is permitted when the court “finds that the questions of law or fact common

  to class members predominate over any questions affecting only individual members, and that a

  class action is superior to other available methods for fairly and efficiently adjudicating the

  controversy.” In re Hydrogen Peroxide Antitrust Litig., 552 F.3d 305, 310 (3d Cir.2008) (quoting

  Federal Rule of Civil Procedure 23(b)(3)). “The twin requirements of Rule 23(b)(3) are known

  as predominance and superiority.” Id.

         In moving for class certification, plaintiffs have the burden of proving by a

  preponderance of the evidence that all the requirements of Rule 23 are met. Gen. Tel. Co. of the

  Southwest v. Falcon, 457 U.S. 147, 161, 102 $.Ct. 2364, 72 L.Ed.2d 740 (1982); Hydrogen

  Peroxide, 552 F.3d at 307. The Supreme Court has emphasized that Rule 23 does not set forth a

  mere pleading standard; the plaintiff must in fact prove that the rule’s requirements have been

  satisfied. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 349, 131 S. Ct. 2541, 2551, 180 L. Ed.

  2d 374 (2011). In considering a motion for class certification, the court must conduct a rigorous

  analysis, which will frequently “entail some overlap with the merits of the plaintiffs underlying

  claims.” Id. (quoting falcon, 457 U.S. at 160, 102 S.Ct. 2364). “A class certification decision

  requires a thorough examination of the factual and legal allegations.” Newton, 259 F.3d at 166.

  “The proper task of the trial court is to consider carefully all relevant evidence and make a

  definitive determination that the requirements of Rule 23 have been met before certifying a

  class.” In re BloodReagentsAntitrustLitig.. 783 F.3d 183, 187 (3d Cir. 2015) (internal

  quotations omitted).




                                                    4
Case 2:12-cv-00995-JMV-CLW Document 428 Filed 12/12/18 Page 5 of 16 PageID: 12593
  NOT FOR PUBLICATION


           The Rule 23 “rigorous analysis may require a district court to address, at least in part, the

  merits of a plaintiffs underlying claim because class determination generally involves

  considerations that are enmeshed in the factual and legal issues comprising the plaintiffs cause

  of action.” Neale v. Volvo Cars ofN. Am., LLC, 794 F.3d 353, 370 (3d Cir. 2015) (internal

  quotations omitted). But the court’s authority to examine the merits of a case on a motion for

  class certification should not be overstated. While a district court may delve beyond the

  pleadings to determine whether the plaintiff has satisfied Rule 23’s requirements, it may not

  inquire into the merits in order to determine whether the elements of each claim may be satisfied.

  Sullivan v. D.B. Investments, Inc., 667 F.3d 273, 305 (3d Cir.201 1). “A court may inquire

  whether the elements of asserted claims are capable of proof through common evidence, but

  lacks authority to adjudge the legal validity or soundness of the substantive elements of asserted

  claims.” Id. Consistent with this understanding, the Third Circuit has held that factual findings of

  the court on a Rule 23 motion are restricted to the question of whether a class may be certified

  and “do not bind the factfinder on the merits.” Hydrogen Peroxide, 552 F.3d at 31$. If the Court

  finds that the action warrants certification, its order must “define the class and the class claims,

  issues, or defenses....” Fed.R.Civ.P. 23(c)(1)(B).

                                                  DISCUSSION

          Plaintiffs seek to certify the following class:

                   All persons or entities in the United States and its territories who purchased
                   Lamictal Tablets directly from GSK, or who purchased a generic version of
                   lamotrigine tablets directly from Teva, at any time during the Class Period from
                   February 17, 200$ until January 22, 2009 (the “Class”).2




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   Excluded from the Class are Defendants and their officers, directors, management, employees, subsidiaries, and
  affiliates, and all federal governmental entities.

                                                          5
Case 2:12-cv-00995-JMV-CLW Document 428 Filed 12/12/18 Page 6 of 16 PageID: 12594
  NOT FOR PUBLICATION


  ECF No. 371-1 at   ¶   1. Their proposed order premises liability on common issues such as

  whether: “Defendants conspired to delay and suppress generic competition to Lamictal Tablets;”

  “the reverse payments suppressed generic competition to Lamictal Tablets by delaying the

  launch of Teva’s generic and OSK’s authorized generic Lamictal Tablets;” and “absent the

  reverse payments, Teva would have launched its generic version of Lamictal Tablets and G$K

  would have launched authorized generic Lamictal Tablets.” Id. at    ¶ 3(b), (e), (g). To certify the
  class, this Court must confirm that the requirements of Rule 23 are met.

                                             1. Numerosity

         To be certified, the class must be “so numerous that joinder of all members is

  impracticable.” In re Cmty. Bank of N. Virginia, 622 F.3d 275, 291 (3d Cir. 2010), as amended

  (Oct. 20, 2010). “[G]enerally if the named plaintiff demonstrates that the potential number of

  plaintiffs exceeds 40, the first prong of Rule 23(a) has been met.” Stewart v. Abraham, 275 F.3d

  220, 226—27 (3d Cir. 2001).

         Plaintiffs and Defendants dispute how many members of the class there really are.

  Plaintiffs seek to certify a class of 65 direct purchasers, who they argue are dispersed

  geographically in a manner that makes joinder impracticable. Motion for Class Certification

  (“Mot. Br.”) at 20-21. Defendants argue that before the Court are actually two separate

  subclasses masquerading as one. They contend that Plaintiffs’ theory of liability means the 65

  member putative class is really “32 brand purchasers pursuing a switching theory” combined

  with “33 generic-only purchasers.” Opposition to Mot. (“Resp.”) at 2-3; 27-28. But whether

  Plaintiffs’ theory of liability corresponds to its damages model is a question saved for a

  predominance analysis, not numerosity. See Comcast Corp. v. Behrend, 569 U.S. 27, 34, 133 5.

  Ct. 1426, 1433, 185 L. Ed. 2d 515 (2013) (finding that because “respondents’ model falls far



                                                    6
Case 2:12-cv-00995-JMV-CLW Document 428 Filed 12/12/18 Page 7 of 16 PageID: 12595
  NOT FOR PUBLICATION


  short of establishing that damages are capable of measurement on a classwide basis. [they]
                                                                                           .   .




  cannot show Rule 23(b)(3) predominance”). If the Court finds that predominance is not met at

  that stage, it can then entertain subclasses, which would respectively need to meet all of Rule

  23’s requirements, including numerosity. See Marcus v. BMJJ7 of N. Am., LLC, 687 F.3d 583, 595

  (3d Cir. 2012). Defendants finally argue that “the class is actually smaller than 65 companies due

  to mergers among members,” resulting in a class of either fifty-three or forty-eight in total. Resp.

  at 28-29. As Plaintiffs point out, classes of either 65, 53, or 48 are all greater in number than 40,

  and the Third Circuit has recognized a general rule that at such number numerosity has been met.

  See Stewart, 275 F.3d at 226—27. Defendants have not given the Court any reason to deviate

  from this rule. Plaintiffs’ proposed class is sufficiently numerous to meet the requirements of

  Rule 23(a)(1).

                                                2. Commonality

         Plaintiffs claim that their putative class members share at least one question of law or fact

  sufficient to meet Rule 23(a)(2). Plaintiffs are correct that commonality is “easily met.” Bing Li

  v. Aeterna Zentaris, Inc., 324 F.R.D. 331, 339 (D.N.J. 201$). Because “the commonality inquiry

  is subsumed into the predominance inquiry,” Reyes v. Netdeposit, LLC, $02 F.3d 469, 486 (3d

  Cir. 2015), the deeper underlying questions as to the prevalence of common issues as opposed to

  individual ones is better suited for predominance analysis. Plaintiffs’ class has a sufficient

  common question—did Defendants commit an antitrust violation resulting in classwide injury—

  to meet the requirements of Rule 23(a)(2).

                                         3. Typicality and Adequacy

         The Named Plaintiffs’ claims are typical of the class sufficient to meet 23(a)(3)’s “low

  threshold.” Newton, 259 F.3d at 183. Likewise, Direct Purchasers’ class counsel and Named



                                                    7
Case 2:12-cv-00995-JMV-CLW Document 428 Filed 12/12/18 Page 8 of 16 PageID: 12596
  NOT FOR PUBLICATION


  Plaintiffs are respectively experienced and free of potential conflicts. Mot. Br. at 25-26.

  Defendants do not contest either of these prongs in their briefing; Rule 23(a)(3) and (4) are met.

                                               4. Predominance

          Rule 23(b)(3)’s predominance requirement demands that “proposed classes are

  sufficiently cohesive to warrant adjudication by representation.” Amchem v. Windsor, 521 U.S.

  591, 624 (1997). “[T]he focus of the predominance inquiry is on whether the defendant’s conduct

  was common as to all of the class members, and whether all of the class members were harmed

  by the defendant’s conduct.” Sullivan, 667 F.3d at 29$. A plaintiff must “demonstrate that [each]

  element of [each legal claim] is capable of proof at trial through evidence that is common to the

  class rather than individual to its members.” Hydrogen Peroxide, 552 F.3d at 311.

                                         i.     Penetration Rate

         Defendants make a number of arguments as to why Plaintiffs fail to meet predominance,

  particularly in ways that would violate the Rules Enabling Act. “The Rules Enabling Act grants

  the Supreme Court the power to create federal rules of practice and procedure with the restriction

  that these rules ‘shall not abridge, enlarge, or modify any substantive right.” Knepper v. Rite Aid

  Corp., 675 F.3d 249, 264 (3d Cir. 2012) (quoting 2$ U.S.C.    §   2072(b)). “The Rules Enabling Act

  underscores the need for caution. As [the Supreme Court] said in Amchem [Products, Inc. v.

  Windsor, 521 U.S. 591 (1997)], no reading of [Rule 23] can ignore the Act’s mandate that rules

  of procedure shall not abridge, enlarge or modify any substantive right.” Ortiz v. fibreboard

  Corp., 527 U.S. $15 (1999) (internal quotations omitted).

         Defendants first contend that the penetration rate proposed by Plaintiffs’ expert, Dr.

  Lamb, “does not fit Plaintiffs’ theory of liability and uses the class-action mechanism to




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Case 2:12-cv-00995-JMV-CLW Document 428 Filed 12/12/18 Page 9 of 16 PageID: 12597
  NOT FOR PUBLICATION


  artificially inflate damages” in contradiction of the Supreme Court’s holding in Comcast. Resp.

  at 14. Under Comcast:

                 [A] model purporting to serve as evidence of damages in this class action must
                 measure only those damages attributable to that theory. If the model does not even
                 attempt to do that, it cannot possibly establish that damages are susceptible of
                 measurement across the entire class for purposes of Rule 23(b)(3). Calculations
                 need not be exact. but at the class-certification stage (as at trial), any model
                                    .   .




                 supporting a plaintiffs damages case must be consistent with its liability case,
                 particularly with respect to the alleged anticompetitive effect of the
                 violation.. .And for purposes of Rule 23, courts must conduct a rigorous analysis
                 to determine whether that is so.

  569 U.S. at 35 (internal quotations omitted).

          Defendants argue that Plaintiffs’ liability theory includes the notion that “some

  purchasers bought Lamictal, and if generic larnotrigine had been available earlier, they would

  have switched a portion of those purchases to the generic.” Resp. at 15. This is referred to

  throughout the briefing as the “switching theory,” which allegedly resulted in damages to those

  who could have—but were not able to—switch from brand name Lamictal to a generic

  alternative (also known as “brand-generic damages”). Defendants contend this theory is not in

  accord with Plaintiffs’ damages model, which “calculate[s] a penetration rate based on the

  amount of lamotrigine that all direct purchasers bought, not just brand purchasers.” Id. at 16. A

  generic penetration rate refers to the “[percentage] of all units that would have been purchased as

  a generic product.” In re Cardizern CD Antitrust Litig., 200 F.R.D. 297, 322 (E.D. Mich. 2001).

  Defendants argue Dr. Lamb’s concession that purchases made by generic-only buyers “wouldn’t

  give rise to any brand-generic damages” solidifies their contention that this mismatch is fatal to

  Comcast’s edict, and leads to a damages differential of over $480 million when trebling is

  considered. Resp. at 16-17.




                                                   9
Case 2:12-cv-00995-JMV-CLW Document 428 Filed 12/12/18 Page 10 of 16 PageID: 12598
  NOT FOR PUBLICATION


           The Court believes Defendants have the better argument, but not entirely and not enough

  to create serious certification issues. Dr. Lamb created a classwide damages model by combining

  the damages for brand-generic direct purchasers and generic-generic direct purchasers.3 See

  Lamb Dep. at 232:13-233:6. The penetration rate for brand-generic damages, however, takes

  generic purchasers into account because it is defined by Dr. Lamb as “the total EUs of generic

  lamotrigine tablet divided by the total EUs of total lamotrigine tablets in each month after the

  actual generic entry date.” Lamb Report at ¶ 106. There is no sound reason for the brand-generic

  damages model to use a penetration rate that considers generic-generic data (or, at least, no good

  reasoning put forward by Plaintiffs and Dr. Lamb). Dr. Lamb brushes this criticism off as

  conflating classwide damages with brand-generic and generic-generic damages, contending that

  his job was to determine classwide damages only. Lamb Reply at                  ¶ $2. This is not so. Dr.
  Lamb’s report found “the amount of aggregate damages suffered by proposed Class

  members.. .under the No-Payment Settlement Scenario and the Litigation Success Scenario to be

  $1.09 billion and $1.62 billion, respectively.” Lamb Report at             ¶   12(d). He gets those numbers by

  specifically adding the damages totals of the brand-generic damages and the generic-generic

  damages. From Dr. Lamb’s own report:


                                        Table 3
                          Damages by But-For Generic Entry Date
              Damages                 October 6, 2007             Septener 1, 2006
              Brand-Generic                 $761,651,015                 $1,195,231,856
              Generic-Generic               $325,432,929                   $426,731,999
             Total                  $1,087,083,944                       $1,621,963,855
             Source: WAC data & transaction-leeI sales data.




    Discussed infra, “generic-generic” class members refer to direct purchasers of generic lamotrigine who, but for the
  alleged no-AG reverse payment, would have paid less due to more market competition.

                                                           10
Case 2:12-cv-00995-JMV-CLW Document 428 Filed 12/12/18 Page 11 of 16 PageID: 12599
   NOT FOR PUBLICATION


   Id. at 110 (Table 3).

           While the Court finds that this methodological error is somewhat significant to establish a

   precise damages calculation, it does not believe it to rise to the level of defeating predominance

   or violating the Rules Enabling Act. First, Dr. Lamb and Plaintiffs have recognized this input

   discrepancy inflates damages by roughly 10-17%, and that it can be fixed rather easily. Reply Br.

   at 12-13. Second, brand-generic damages are not solely dependent on brand purchasers who

   would have otherwise switched to a generic, but also on the credible economic analysis that

   Lamictal prices themselves would have dropped if a generic had entered the market, and a

   generalized penetration rate is not a problem for that latter subset of brand-generic damages. See

   Cmpl.   ¶J   112-114. Third, imperfect damages calculations are more often forgiven in the antitrust

   context. See In re Elec. Books Antitrust Litig., No. 11 MD 2293 DLC, 2014 WL 1282293, at * 16

   (S.D.N.Y. Mar. 28, 2014) (stating that “the Supreme Court has long taught that damage issues in

  antitrust cases are rarely susceptible of the kind of concrete, detailed proof of injury which is

  available in other context”) (internal quotations and brackets omitted). Fourth, the model is still

  sound on the whole in a way that accurately traces Plaintiffs’ theory of liability to damages. The

  Supreme Court in Comcast dealt with four different alternative theories of liability that could

  lead to damages. 579 U.S. at 27. This is not the case when “the model assumed the validity of all

  four theories of antitrust impact” and “did not attribute damages to any one particular theory of

  anticompetitive impact.” Id. at 36-37. This is also not a model that does not “even attempt to”

  “measure only those damages attributable to that theory.” Id. at 35. Here, there is one theory of

  liability corresponding to one model of damages, with the model simply lacking in one respect.

  This is not an instance of “tn]o damages model, no predominance, no class certification.” In re

  Rail freight fuel Sttrcharge Antitrust Litig.-MDL No. 1869, 725 F.3d 244, 253 (D.C. Cir. 2013).



                                                     11
Case 2:12-cv-00995-JMV-CLW Document 428 Filed 12/12/18 Page 12 of 16 PageID: 12600
   NOT FOR PUBLICATION


   That Plaintiffs will likely have to amend an otherwise sound model is not enough to override the

   benefits of the class device or cause any rights deprivation to Defendants. See In re Lidoderm

  AntitrttstLitig., No. 14-MD-0252 1-WHO, 2017 WL 679367, at *12 (N.D. Cal. Feb. 21, 2017)

   (finding the fact “that the experts dispute what the appropriate inputs should be does not

   undermine the approach or the reliability of [the] model”). See also In re Nexium Antitrust Litig.,

   777 F.3d 9, 32 (1st Cir. 2015) (stating that “the [Rules Enabling] Act.. .imposes no requirement

   at the class certification stage beyond ensuring that a methodology can be developed that is

  capable of excluding uninjured members”); Corncast, 569 U.S. at 35 (finding that “[c]alculations

  need not be exact” in a predominance analysis). Dr. Lamb’s Revised Expert Reply Report,4 and

  indeed the reports of Defendants’ experts, demonstrate that a model matching Plaintiffs’ theory

  is more than feasible.

                                         ii.     Uninjured Brand Purchasers

            Defendants next argue that Dr. Lamb’s model “conceals that some brand purchasers did

  not switch to lamotrigine when it launched and thus suffered no injury.” Resp. at 18. Dr. Lamb

  acknowledges that two brand purchasers—H.C. Pharmacy Central, Inc. and Professional Drug

  Co., Inc.—did not switch from Lamictal to a generic option after it became available. Lamb Dep.

  Tr. at 291:24-292:23. The Court agrees with Dr. Lamb’s contention that the model with those

  brand purchasers is sound because “one can’t assume.. .that purchase patterns in the actual world

  over a specific period of time tell us about what purchase patterns would have been in a but-for

  world where generic entry happened much earlier.” Id. Likewise, both H.C. Pharmacy and

  Professional Drug allegedly paid inflated prices for Lamictal compared to the but for world when




   See   ¶ 164 (Table 3).
                                                   12
Case 2:12-cv-00995-JMV-CLW Document 428 Filed 12/12/18 Page 13 of 16 PageID: 12601
   NOT FOR PUBLICATION


   generics entered the market. The Court finds no significant presence of uninjured brand

   purchasers.

                                         iii.    Injury to Generic Purchasers

          Defendants next argue that common issues cannot predominate over individualized ones

   because Plaintiffs rely on average prices that do not show injury to generic purchasers, or if so

   must be proved on an individualized basis. Resp. at 20. Specifically, Defendants argue on a

   premise in Plaintiffs’ generic-generic theory, contending that Plaintiffs’ but-for world, where

   GSK is not forbidden from pursuing an authorized generic, ignores the “Contracting Strategy,”

  whereby GSK simply lowered the prices of the branded Lamictal as a “novel” alternative to

  authorizing a generic competitor to Teva’s lamotrigine, which it was forbidden to do. Id.

          This argument is one that, in Defendants’ briefing, often goes far beyond the realm of

  predominance and well into the merits of Plaintiffs’ claims. “[A] court should not address merits-

  related issues beyond what is necessary to determine preliminarily whether certain elements will

  necessitate individual or common proof.” Harnish v. Widener Univ. Sch. ofLaw, 833 F.3d 298,

  305 (3d Cir. 2016) (internal quotations omitted). The Court will not address the multi-leveled

  microeconomic analysis of what each Defendant would or would not have possibly done in the

  but-for world, and instead focuses on whether the presence of the Contracting Strategy raises

  individualized issues that defeat predominance. Defendants maintain that this is a predominance

  issue because the Contracting Strategy forced Teva to offer generic direct purchasers discounts

  that ranged from roughly 20% to 60%. Resp. at 21. Defendants claim that Dr. Lamb

  impermissibly averaged this discount, which ignores the fact that some individual direct

  purchasers may have received discounts that resulted in lower prices than they would have paid




                                                   13
Case 2:12-cv-00995-JMV-CLW Document 428 Filed 12/12/18 Page 14 of 16 PageID: 12602
   NOT FOR PUBLICATION


   in the but-for world, given that some studies show a second generic lowers prices by 7-14%,

   which is less than the discount many direct purchasers received. Id. at 22.

          But “[t]he use of averages to develop the aggregate amount of damages does not suggest

   Plaintiffs will be unable to ensure recovery is only for injured parties.” In re Solodyn

   (Minocycline Hydrochloride) Antitrust Litig., No. CV 1 4-MD-02503, 2017 WL 4621777, at * 10

   (D. Mass. Oct. 16, 2017). Besides the fact that a class can be certified with de minimis uninjured

   parties, courts have rightly noted “that a person suffers a cognizable injury and is impacted by a

   price-fixing conspiracy at the moment he pays an antitrust overcharge, even if the

   anticompetitive conduct at issue also results in offsetting benefits.” In re Delta/A irTran Baggage

  Fee Antitrust Litig., 317 F.R.D. 675, 683 (N.D. Ga. 2016) (stating that “[b]ecause of the nature

  of price-fixing, offsetting benefits that consumers allegedly received may not be used to reduce

  any damages a defendant owes for its anticompetitive conduct. And such benefits—which at

  most would affect only the calculation of damages—do not wipe away the antitrust injury”); see

  also In re   Nexiurn,   777 F.3d at 27 (injury established even if class member suffered no damage

  because injury later offset). Here, injury occurred to potential generic purchasers at the moment

  the price of generic lamotrigine was artificially inflated by the no-AG agreement, even if GSK’s

  Contracting Strategy later on possibly eroded some or all of the inflated price.

          Averages are also more of a problem when plaintiffs seek to certify a class of indirect

  purchasers, of which this class is not comprised. See Sheet Metal Workers Local 441 Health &

  Welfare Plan v. GlaxoSmithKline, PLC, No. CIV.A. 04-5898, 2010 WL 3855552, at *22 (E.D.

  Pa. Sept. 30, 2010) (expressing the relative difficulty of certifying an indirect purchaser class

  compared to a direct purchaser class in the pharmaceutical antitrust context); see also In re

  Wellbutrin XL Antitrust Litig., 282 F.R.D. 126, 144 (E.D. Pa. 2011) (finding again in the



                                                     14
Case 2:12-cv-00995-JMV-CLW Document 428 Filed 12/12/18 Page 15 of 16 PageID: 12603
   NOT FOR PUBLICATION


   pharmaceutical antitrust context that an analysis using averages “provides a reliable method to

   provide a reasonable estimate of the damages based on relevant purchase data”). Likewise, the

   fact that some generic purchasers were injured more or less strongly than others is not only

   permitted,5 but is a reason for why averages are appropriate in the damages calculation.

           Plaintiffs have shown that issues common to the class predominate over individualizes

   ones. They have met that condition of Rule 23(b)(3).

                                                         5. Superiority

           The second inquiry under Rule 23(b)(3) is whether “a class action is superior to other

   available methods for fairly and efficiently adjudicating the controversy.” Superiority asks the

   Court “to balance, in terms of fairness and efficiency, the merits of a class action against those of

   ‘alternative available methods’ of adjudication.” Georgine v. Amchem Prod., Inc., $3 f.3d 610,

  632 (3d Cir. 1996), affdsub nom. Amchem, 521 U.S. 591. The superiority analysis “calls for an

  inquiry into judicial economy and places great weight on whether the individual members can

  bring their own claims.” In re ModafinilAntitrustLitig., $37 F.3d 23$, 253 (3d Cir. 2016), as

  amended (Sept. 29, 2016). Here, the Court finds that the class action device is superior to joinder

  since there are core issues common to the entire class that make joinder a relatively

  uneconomical option. Defendants argue that many of the Plaintiffs have “claims worth over $1

  million,” which suggests they would individually bring their own suits if need be. Resp. at 29-30.

  Yet Defendants have provided no “argument as to why $1 million should be the standard by




   “[R]ecognition that individual damages calculations do not preclude class certification under Rule 23(b)(3) is well
  nigh universal.” Neale, 794 f.3d at 374-75 (quoting Comcast, 133 S.Ct. at 1437 (Ginsburg, J. & Breyer, J.,
  dissenting)); see also City ofSterling Heights Gen. Employees’ Ret. Sys. v. Prudential Fin., Inc., No. CIV.A. 12-
  5275, 2015 WL 5097883, at *13 (D.N.]. Aug. 31, 2015) (finding that “denial ofclass certification solely on the
  basis of individual damages calculations would be an abuse of discretion”) (internal quotations omitted).




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Case 2:12-cv-00995-JMV-CLW Document 428 Filed 12/12/18 Page 16 of 16 PageID: 12604
   NOT FOR PUBLICATION


   which a claim is determined as being economically worthwhile or not.” In re Androgel Antitrust

   Litig., No. 1:09-CV-956-TWT, 2018 WL 3424612, at *3 (N.D. Ga. July 16, 2018). Given that

   Defendants recognize Plaintiffs are “a cluster of corporations” and “sizable companies,” Resp

   Br. at 2; 27, the million-dollar threshold is even less impressive, especially since, to quote Judge

   Posner, “millionairehood is not what it used to be,” Nw. Nat. Ins. Co. v. Donovan, 916 F.2d 372,

   374 (7th Cir. 1990). Because a class action “will achieve economies of scale, conserve judicial

   resources, preserve public confidence in the integrity of the judicial system by avoiding the

   waste and delay of repetitive proceedings, and prevent inconsistent adjudications of similar

   claims,” Almonte v. Marina Ice Cream Corp., No. 1:1 6-CV-00660 (GBD), 2016 WL 7217258, at

   *3 (S.D.N.Y. Dec. 8, 2016), superiority is met and the class is certified.

                                            CONCLUSION

          Plaintiffs’ motion for class certification, ECF No. 371, is granted. An appropriate order

  follows.




  DATE:                     ‘




                                                 Senior United States District Court Judge




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